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                                                                 U.s.
                UNITED STATES DISTRICT COURT
                                            29 MY -5 FM 3: 2
               SOUTHERN DISTRICT OF GEORGIA
                                           r',EP, ,,
                                           ULJ_,_..
                   STATESBORO DIVISION           SD. LJ                     L,
HOMER HOLLOWAY,             )
                           )
     Movarit,              )
                           )
V.                         )              Case No,   CR606-028
                           )                         CV61I-021
UNITED STATES OF AMERICA, )
                           )
    Respondent.            )

                               ORDER
     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

     SO ORDERED this             day of
                                            1            2011.




                                  V. AV4RT EDEF1EL(
                                  UNITED STATES DIFRICT JUDGE
                                  SOUTHERN DIST1)tCT OF GEORGIA
